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                  COOK COUNTY SHERIFF'S POLICE DEPARTMENT                             SH-19-00186512
                  INCIDENT REPORT
                  1401 S. Maybrook Drive, Maywood, Illinois 60153




I-UCR Offense Code: Primary and Secondary Classification
 Classifications
 7367 - UNWANTED SUBJECT

Address of Occurrence
  Location Code - Primary                                               Location Code - Secondary
  304 - STREET                                                          3042302 - YARD
 Address
 7038 WEST 72ND STREET, CHICAGO, 60638
  Beat of Occurrence
  42
  Is this Location a Licensed Premise? NO

Date and Time of Occurrence
  Is Date Range?        NO
  Occurrence Date                      Occurrence Time                   R.O. Arrival Date                   R.O. Arrival Time
  12-JUL-2019                          2130                              12-JUL-2019                         2130

  Case Report Number (CR Number)
  SH-19-00186512

  Unit
  PBVA / PATROL / BRIDGEVIEW AREA


 NO     Was this Domestic Battery Related?                                 NO       Was this Incident Fire Related?
 NO     Was this Incident Gang Related?                                    NO       Was a Victim Information Notice Given?
 NO     Was this Incident a result of a Chicago Initiative Detail?         NO       Was this Incident a result of a Hireback Detail?
 NO    Was this Incident Mental Health related?                            YES Preliminary Investigation Recorded on Body-Worn Camera?
 NO     Use of Force Involved?                                             NO Body-worn Camera Recording(s) Reviewed?
 NO     Was a DIN (Domestic Information Notice) Given?                     NO       Was a SAIN (Sexual Assault Incident Notice) Given?
 NO     Was a Victim/Complainant Signature Form Completed?

People Specific Information

    Offender / Suspect                                                                                           (OFFENDER - FERGUSON, Timothy W)

       Demographics
           IR #                                 FBI #                               SID #


           NO Information Refused?               NO In Custody?                     NO Injured?

           Last Name                            First Name                          Middle Name                      Name Suffix
          FERGUSON                              TIMOTHY                             W
           Alias Last Name                      Alias First Name                    Maiden Name                      Nickname


           Sobriety                             Birthdate                           Place of Birth
                                                03-SEP-1985
           Sex                     Race                                      Age (From)               Age (To)           Age Estimated?
           MALE                    WHITE                                     33


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COOK COUNTY SHERIFF'S POLICE DEPARTMENT - INCIDENT REPORT                                                                                 SH-19-00186512

People Specific Information

    Offender / Suspect                                                                                                     (OFFENDER - FERGUSON, Timothy W)

       Demographics
           Height (From)         Height (To)              Weight (From)          Weight (To)             Complexion


           Eye Color             Hair Color               Hair Style                                     Facial Hair


          Address of Residence
           Street #            Half Addr.?       Street Direction             Street Name                                             Unit #
           7029                                  W                              72ND STREET
           City                                 State                           Zip Code                                               Beat
           CHICAGO                              IL                            60638                                                    42

          Suspected of Using
          NO      Alcohol?     NO   Narcotics?       NO     Vehicle?       NO    Computer Equipment?               Other


       Items Used
           Item Used




    Non-Offender Details                                                                                              (COMPLAINANT - BEDNAREK , Richard F)

       Demographics
           Role                                                                      Type
           COMPLAINANT                                                               INDIVIDUAL

           Information Refused?        NO      Injured?       NO          Law Enforcement Officer?             YES          Sheriff's Employee?           YES
           Last Name                           First Name                            Middle Name                               Name Suffix
           BEDNAREK                            RICHARD                               F
           Alias Last Name                     Alias First Name                      Maiden Name                               Nickname


           Sobriety                            Birthdate                Place of Birth
                                               22-MAR-1964
           Sex                       Race                                             Age (From)        Age (To)              Age Units      Age Estimated?
           MALE                      WHITE                                            55                                                             NO
           Height (From)         Height (To)              Weight (From)          Weight (To)             Complexion


           Eye Color                   Hair Color                      Hair Style                    Build                          Facial Hair



       Address of Residence
         Street #            Half Addr.?      Street Dir.     Street Name                                                                   Unit #
         7038                                        W        72ND STREET
         City                                     State                             Zip Code             Beat
         CHICAGO                                  ILLINOIS                          60638                     42




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COOK COUNTY SHERIFF'S POLICE DEPARTMENT - INCIDENT REPORT                                                                         SH-19-00186512

People Specific Information

       Contact Information
           Contact Type               Phone Number / Email                      Contact Hour (From) Contact Hour (To) Available Anytime
           CELLULAR PHONE             630-235-5709                                                                                YES



    Non-Offender Details                                                                                                     (OTHER - GOW, Nickie K)

       Demographics
           Role                                                                     Type
           OTHER                                                                    INDIVIDUAL

           Information Refused?        NO      Injured?      NO       Law Enforcement Officer?               NO     Sheriff's Employee?          NO
           Last Name                           First Name                           Middle Name                       Name Suffix
           GOW                                 NICKIE                               K
           Alias Last Name                     Alias First Name                     Maiden Name                       Nickname


           Sobriety                            Birthdate            Place of Birth
                                               16-APR-1969
           Sex                       Race                                           Age (From)        Age (To)        Age Units     Age Estimated?
           FEMALE                    WHITE                                          50                                                      NO
           Height (From)         Height (To)              Weight (From)      Weight (To)               Complexion


           Eye Color                   Hair Color                  Hair Style                      Build                   Facial Hair



       Address of Residence
         Street #            Half Addr.?     Street Dir.     Street Name                                                           Unit #
         7038                                     W          72ND STREET
         City                                    State                          Zip Code               Beat
         CHICAGO                                 ILLINOIS                       60638                       42

       Contact Information
           Contact Type               Phone Number / Email                      Contact Hour (From) Contact Hour (To) Available Anytime
           CELLULAR PHONE             312-978-1280                                                                                YES



    Non-Offender Details                                                                                               (OTHER - HALLORAN, Shaun M)

       Demographics
           Role                                                                     Type
           OTHER                                                                    INDIVIDUAL

           Information Refused?        NO      Injured?      NO       Law Enforcement Officer?               NO     Sheriff's Employee?          NO
           Last Name                           First Name                           Middle Name                       Name Suffix
           HALLORAN                            SHAUN                                M
           Alias Last Name                     Alias First Name                     Maiden Name                       Nickname




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COOK COUNTY SHERIFF'S POLICE DEPARTMENT - INCIDENT REPORT                                                                          SH-19-00186512

People Specific Information

       Demographics
           Sobriety                            Birthdate            Place of Birth
                                               09-NOV-1977
           Sex                       Race                                           Age (From)          Age (To)       Age Units     Age Estimated?
           MALE                      WHITE                                          41                                                       NO
           Height (From)         Height (To)             Weight (From)       Weight (To)                Complexion


           Eye Color                   Hair Color                  Hair Style                      Build                    Facial Hair



       Address of Residence
         Street #            Half Addr.?     Street Dir.    Street Name                                                             Unit #
         5831                                     W         81ST PLACE
         City                                    State                          Zip Code                Beat
         BURBANK                                 ILLINOIS                       60459                       42


Court Information


Incident Administrative Information
     Relationship Association Details
        Victim                                      Relationship                             Offender / Suspect


     Associated Report Numbers
        Associated Records Case Number


     Associated Central Booking Numbers
        Associated Central Booking Number


     Report Involvements
        Officer                                     Role                            Attested? Attested Date               Date
        Police Officer Abelardo Mercado #331        REPORTING OFFICER               NO                                    12-JUL-2019

     Incident Notification Details
        Unit / Agency                                        Star # /                        Beat /         LEADS # Date / Time    Notification
                                Last Name      First Name                 Employee #
        Notified                                             ID #                            Position       / NCIC # Notified      Type


Incident Specific Information




Property Information




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COOK COUNTY SHERIFF'S POLICE DEPARTMENT - INCIDENT REPORT                                                      SH-19-00186512


Property Information
      Currency Details

      Explosive Details

      Firearm Details

      Narcotic Details

      Other Property Details

      Vehicle Details

Narrative
  Do not duplicate or repeat information located elsewhere in this report, narratives are for explanation or additional
  information only. If there is an arrest include a full description of events leading to the arrest.


      Narrative
      In summary, R/O along with P/O Ishoo#275 and Sgt Barloga#84 responded to the above listed address for a call of an
      unwanted subject. Upon arrival R/O's made contact with civil processor, NON-OFFENDER #1 (BEDNAREK ,
      RICHARD) who related that he was at this address to serve some court paperwork to NON-OFFENDER #3
      (HALLORAN, SHAUN) reference an eviction involving the home at this address. When NON-OFFENDER #1
      (BEDNAREK , RICHARD) arrived on the property with the property's executor, NON-OFFENDER #2 (GOW, NICKIE),
      he encountered OFFENDER #1 (FERGUSON, TIMOTHY) who had stopped by. According to NON-OFFENDER #1
      (BEDNAREK , RICHARD), OFFENDER #1 (FERGUSON, TIMOTHY) is not supposed to be on the property and NON-
      OFFENDER #1 (BEDNAREK , RICHARD) advised OFFENDER #1 (FERGUSON, TIMOTHY) to leave, to which he
      refused. OFFENDER #1 (FERGUSON, TIMOTHY) was briefly detained, hand cuffed and double locked for proper
      fitting, while R/O's sorted the situation. NON-OFFENDER #1 (BEDNAREK , RICHARD) suggested to OFFENDER #1
      (FERGUSON, TIMOTHY) to call NON-OFFENDER #3 (HALLORAN, SHAUN) so that he could be served the proper
      court documents. Shaun arrived on scene shortly after and NON-OFFENDER #1 (BEDNAREK , RICHARD) served him
      with the proper documentation. NON-OFFENDER #1 (BEDNAREK , RICHARD) then proceeded to sign complaint
      refusals for the trespassing charge against OFFENDER #1 (FERGUSON, TIMOTHY) and he was subsequently
      released without incident. Nothing further at this time.




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